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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                                     20-mj-366 HB

 In the Matter of the Complaint and Arrest of               FILED UNDER SEAL
 JOSE A. FELAN, JR.
                                                            ORDER FOR SEALING



       This Court, having reviewed the Petition of the United States herein, finds that the

United States has shown a compelling interest in the sealing of documents in the above­

captioned matter because:

       a.      Nondisclosure of the arrest warrant documents is necessary to prevent Jose A.

               Felan, Jr., and others from fleeing the jurisdiction.

       b.      Nondisclosure of the arrest warrant documents is necessary to prevent the

               ongoing investigation from being compromised.

       c.      Nondisclosure of the arrest warrant documents is necessary to effectuate the

               arrest of Jose A. Felan, Jr., without compromising officer safety.

       This Court also finds that less restrictive alternatives to sealing are impracticable or

not appropriate.

       It is therefore:

       ORDERED that all documents filed in the above-captioned matter are hereby sealed

until the close of business on December 8, 2020.

       IT IS FURTHER ORDERED that these documents will be unsealed at the above time

unless further compelling interest is shown by the United States for continuing this Order

for an additional period of time.

       IT IS FURTHER ORDERED that the warrant materials may be disclosed to other law

enforcement entities, including those outside the United States, for the purpose of executing

the arrest warrant.
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